21-03009-hcm Doc#71 Filed 03/03/22 Entered 03/03/22 16:54:00 Main Document Pg 1 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

   IN RE:                                         §
                                                  §
   THE GATEWAY VENTURES, LLC,                     §           CASE NO. 21-30071-HCM
                                                  §
   Debtor.                                        §           CHAPTER 11


                                   §
   WESTAR INVESTORS GROUP, LLC,    §
   SUHAIL BAWA, and SALEEM MAKANI, §
                                   §
                   Plaintiffs,     §
                                   §
   v.                              §
                                   §                  ADVERSARY NO. 21-03009-HCM
   THE GATEWAY VENTURES, LLC,      §
   PDG PRESTIGE, INC., MICHAEL     §
   DIXSON, SURESH KUMAR,           §
   and BANKIM BHATT,               §
                                   §
                   Defendants.     §

                                   NOTICE OF DEFAULT
                             BY THE GATEWAY VENTURES, LLC
   TO THE HONORABLE BANKRUPTCY JUDGE H. CHRISTOPHER MOTT:

          COME NOW WESTAR INVESTORS GROUP, LLC, SUHAIL BAWA, and SALEEM

   MAKANI (cumulatively “WESTAR”), Plaintiffs in the above captioned proceedings, by and

   through the undersigned counsel, and hereby file this “Notice of Default by The Gateway

   Ventures, LLC” (“Notice”), and in support of this Notice respectfully show the Court the

   following:

          1.     On October 5, 2021, a Final Order Granting Emergency Motion of Debtor To

   Assume and Enforce Westar Subscription Agreement and Grant Related Relief (RE: Docket No.
21-03009-hcm Doc#71 Filed 03/03/22 Entered 03/03/22 16:54:00 Main Document Pg 2 of 5




   219) (“Final Order”), was signed and filed by the Court, in the Chapter 11 Bankruptcy case of

   The Gateway Ventures, LLC (“TGV”), Case No. 21-30071. (Doc#231).

              2.         On October 15, 2021, the Court, in the Chapter 11 Bankruptcy case of TGV, Case

   No. 21-30071, signed and filed an “Order (I) Approving First Amended Disclosure Statement In

   Support Of Plan Of Reorganization Of The Gateway Ventures LLC Dated September 1, 2021

   And (II) Confirming First Amended Plan Of Reorganization As Modified Of The Gateway

   Ventures LLC Dated October 14, 2021 (Re: Docket Nos. 155, 245)” (“Confirmation Order”)

   (DOC #246). The Confirmation Order required TGV to, inter alia, pay $100,000.00 in one lump

   sum to WESTAR, within forty-five (45) days of the Effective Date of the Plan of

   Reorganization.

              3.         On October 18, 2021, Debtor filed its “Notice of Effective Date of Confirmed

   Chapter 11 Plan of Reorganization (Re: Docket Nos 245, 246)”, therein providing that the

   Effective Date of the Plan was October 18, 2021, in the Chapter 11 Bankruptcy case of TGV,

   Case No. 21-30071. (DOC #251).

              4.         On November 30, 2021, as a meet and confer, WESTAR requested a second time

   that TGV inform WESTAR as to whether TGV will be paying WESTAR the lump sum payment

   of $100,000 on or before December 2, 2021, which was within forty-five (45) days of the

   Effective Date of the Plan of Reorganization, as required in the Confirmation Order approving

   the First Amended Plan. (DOC #246).

              5.         TGV responded with numerous excuses, none of which provided a date certain as

   to when TGV intended to pay WESTAR the $100,000.00 lump sum payment.

              6.         Accordingly, on December 22, 2021, WESTAR filed an “Emergency Motion To

   Enforce The Chapter 11 Plan, and Award Other Miscellaneous Relief” and a “Motion To


   Notice of Default by The Gateway Ventures, LLC
   Westar Investors Group, Inc., et al. vs. The Gateway Ventures, LLC, et al.
   Adversary Case No. 21-03009-hcm                                                                Page 2 of 5
21-03009-hcm Doc#71 Filed 03/03/22 Entered 03/03/22 16:54:00 Main Document Pg 3 of 5




   Expedite Hearing Date On Emergency Motion To Enforce The Chapter 11 Plan, and Award

   Other Miscellaneous Relief”, in the Chapter 11 Bankruptcy case of TGV, Case No. 21-30071.

   (DOC #262 and DOC #263).

              7.         On January 13, 2022, the expedited hearing on the “Emergency Motion To

   Enforce The Chapter 11 Plan, and Award Other Miscellaneous Relief” was held, in the Chapter

   11 Bankruptcy case.

              8.         On same date, January 13, 2022, an “Order Regarding Westar Investors Group,

   LLC, Suhail Bawa, and Saleem Makani’s Emergency Motion To Enforce The Chapter 11 Plan,

   and Award Other Miscellaneous Relief” was entered by the Court in the Chapter 11 Bankruptcy

   case (“Order To Enforce The Plan”), which ordered, adjudged and decreed, in pertinent part, that

   (a) TGV pay the lump sum payment of $100,000 to WESTAR by January 31, 2022, and (b) TGV

   shall make no payment of attorney’s fees until after January 31, 2022. (DOC #278).

              9.         On January 31, 2022, per Mr. Carruth’s request, the undersigned emailed to Mr.

   Carruth bank wiring instructions for payment of the $100,000.

              10.        As of this date, TGV has still not provided WESTAR with the lump sum payment

   of $100,000.

              11.        As of this date, TGV is past due in making payment of the $100,000.00 by a

   period of sixteen (16) days, and has made no effort whatsoever to contact the undersigned

   counsel.

              12.        TGV is thus once again in violation of (a) the Plan, and (b) the Confirmation

   Order, as well as (c) the Order To Enforce The Plan.

              13.        TGV is also in default of the “Subscription Agreement” directly at issue in the

   above-styled adversary proceeding.


   Notice of Default by The Gateway Ventures, LLC
   Westar Investors Group, Inc., et al. vs. The Gateway Ventures, LLC, et al.
   Adversary Case No. 21-03009-hcm                                                                  Page 3 of 5
21-03009-hcm Doc#71 Filed 03/03/22 Entered 03/03/22 16:54:00 Main Document Pg 4 of 5




              14.        Therefore, Notice is hereby given that TGV is in default and in violation of the (a)

   the Plan, and (b) the Confirmation Order, (c) the Order To Enforce The Plan, and (d) the

   “Subscription Agreement.”

   March 3, 2022                                                   Respectfully submitted,

                                                                   THE NEVAREZ LAW FIRM, PC
                                                                   A Professional Corporation
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                                                                   El Paso, Texas 79912
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                                                                   /s/ Michael R. Nevarez
                                                                   By: MICHAEL R. NEVAREZ
                                                                   State of Texas Bar No. 14933400

                                                                   Attorney for WESTAR INVESTORS GROUP, LLC,
                                                                            SUHAIL BAWA, and SALEEM MAKANI




   Notice of Default by The Gateway Ventures, LLC
   Westar Investors Group, Inc., et al. vs. The Gateway Ventures, LLC, et al.
   Adversary Case No. 21-03009-hcm                                                                     Page 4 of 5
21-03009-hcm Doc#71 Filed 03/03/22 Entered 03/03/22 16:54:00 Main Document Pg 5 of 5




                                                   CERTIFICATE OF SERVICE

              I hereby certify that a true and correct copy of the foregoing NOTICE OF DEFAULT

   BY THE GATEWAY VENTURES, LLC was served either by electronic means as listed on

   the Court's CM/ECF filing and noticing system, and/or by regular first-class mail, postage

   prepaid, to all creditors listed on the Debtors’ creditor's matrix, and to the following parties in

   interest, on or before March 3, 2022:

                                                ATTORNEYS FOR DEFENDANTS:
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                                                                            /s/ Michael R. Nevarez
                                                                            MICHAEL R. NEVAREZ

   Notice of Default by The Gateway Ventures, LLC
   Westar Investors Group, Inc., et al. vs. The Gateway Ventures, LLC, et al.
   Adversary Case No. 21-03009-hcm                                                                   Page 5 of 5
